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           In the United States Court of Federal Claims
                                          No. 20-205
                                     (Filed: 13 July 2020)
                                   NOT FOR PUBLICATION


***************************************
RODNEY DALE CLASS,                    *
                                      *
                  Plaintiff,          *             Pro se; RCFC 12(b)(1); Subject-Matter
                                      *             Jurisdiction; Tucker Act Jurisdiction;
v.                                    *             Money-Mandating Source of Law
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************

                                   OPINION AND ORDER

       Rodney Dale Class, pro se, of Waynesville, NC.

        Ann C. Motto, Trial Attorney, Commercial Litigation Branch, Civil Division, Department
of Justice, with whom were Joseph H. Hunt, Assistant Attorney General, Robert E. Kirschman,
Jr., Director, and Patricia M. McCarthy, Assistant Director, all of Washington, D.C., for
defendant.

I.     Introduction

       Pro se plaintiff Rodney Dale Class filed a complaint alleging unjust conviction and
imprisonment and violation of several constitutional and statutory provisions. See Compl., ECF
No. 1. The government moved to dismiss this matter pursuant to Rule 12(b)(1) of the Rules of
the United States Court of Federal Claims (“RCFC”). See Def.’s Mot. to Dismiss, ECF No. 8
(“Def.’s Mot.”). For the following reasons, the government’s motion is GRANTED, and Mr.
Class’s complaint is DISMISSED.

II.    Factual and Procedural History

        On 25 February 2020, Mr. Class filed his initial complaint which included various
allegations against the United States. See Compl. These allegations included an “unjust
conviction and imprisonment claim aginst [sic] the United States,” a constitutional claim alleging
“[t]his Petitioners [sic] . . . has been deny [sic] his right that was protected under the Bill of
Right[s] by the 2nd amendment . . . [and] 14th amendment,” and several claims based on federal
statutes that provide protection of the aforementioned constitutional rights. Id. ¶ 1; ECF No. 1-1
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(“Compl. Attach.”) at 4–7. On 20 April 2020, the government filed a motion to dismiss pursuant
to RCFC 12(b)(1). See Def.’s Mot. at 1. On 27 April 2020, Mr. Class filed his response to the
motion to dismiss which alleged “[t]he real issue before this Court of Claims is the
unconstitutional acts of those under a contract for wages to [the people of the United States]” and
called for government counsel to be disqualified under several federal statutes for “refus[ing] to
uphold and defend the Constitution of the United States.” See Obj. to Dismissal Ann C. Motto
Lack Jurisdiction to Claim 12(b)(6) Under the 14th Amendment Section 4 and 36 USC 70503
Grounds for Disqualification, ECF No. 9 (“Pl.’s Resp.”) at 2, 7 (emphasis omitted). On 13 May
2020, the government filed a reply to Mr. Class’s response to its motion to dismiss. See Def.’s
Reply in Supp. of its Mot. to Dismiss, ECF No. 11 (“Def's Reply”). On 29 May 2020, Mr. Class
filed a surreply in which he further elaborates on several of his previous claims. See Obj. to
Dismissal, ECF No. 14 (“Pl.’s Surr.”). Mr. Class’s surreply was filed by leave of Court on 29
May 2020. Order, ECF No. 13. These matters having been fully briefed, the Court now
addresses the pending motion.

III.   Analysis

       The government moves to dismiss plaintiff’s complaint pursuant to RCFC 12(b)(1). See
Def.’s Mot. at 1.

       A. Legal Standards

               1. RCFC 12(b)(1) – Lack of Subject-Matter Jurisdiction

        In considering a motion to dismiss for lack of subject-matter jurisdiction, “a judge must
accept as true all of the factual allegations contained in the complaint.” Erickson v. Pardus, 551
U.S. 89, 94 (2007); see also Trusted Integration, Inc. v. United States, 659 F.3d 1159, 1163 (Fed.
Cir. 2011) (“In determining jurisdiction, a court must accept as true all undisputed facts asserted
in the plaintiff’s complaint and draw all reasonable inferences in favor of the plaintiff.”).
Plaintiff “bears the burden of establishing subject matter jurisdiction by a preponderance of the
evidence.” Reynolds v. Army and Air Force Exchange Serv., 846 F.2d 746, 748 (Fed. Cir. 1988).
“If the court finds that it lacks jurisdiction over the subject matter, it must dismiss the claim.”
Matthews v. United States, 72 Fed. Cl. 274, 278 (2006).

        The ability of the Court of Federal Claims to entertain suits against the United States is
limited, and the waiver of immunity “may not be inferred, but must be ‘unequivocally
expressed.’” United States v. White Mountain Apache Tribe, 537 U.S. 465, 472 (2003) (quoting
United States v. Mitchell, 445 U.S. 535, 538 (1980)). The Tucker Act grants this Court
jurisdiction over “any claim against the United States founded either upon the Constitution, or
any Act of Congress or any regulation of an executive department, or upon any express or
implied contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.” 28 U.S.C. § 1491(a)(1). “The Tucker Act . . . is itself only a jurisdictional
statute; it does not create any substantive right enforceable against the United States for money
damages. . . . [T]he Act merely confers jurisdiction upon it whenever the substantive right
exists.” United States v. Testan, 424 U.S. 392, 398 (1976).

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               2. Pro Se Litigants

        Pro se parties are granted greater leeway than litigants represented by counsel. See
Haines v. Kerner, 404 U.S. 519, 520–21 (1972) (holding that pro se complaints are held to “less
stringent standards than formal pleadings drafted by lawyers”). Despite such leeway, this Court
has long recognized “the leniency afforded to a pro se litigant with respect to mere formalities
does not relieve the burden to meet jurisdictional requirements.” Minehan v. United States, 75
Fed. Cl. 249, 253 (2007). The pro se plaintiff—like any other plaintiff—must establish the
Court’s jurisdiction to consider a claim. Riles v. United States, 93 Fed. Cl. 163, 165 (2010)
(citing Taylor v. United States, 303 F.3d 1357, 1359 (Fed. Cir. 2002)). If a petitioner acts pro se
in the drafting of a pleading, the Court “may excuse its ambiguities, but it does not excuse its
failures, if such there be.” Henke v. United States, 60 F.3d 795, 799 (Fed. Cir. 1995).

       B. Discussion

               1. Jurisdiction Over Mr. Class’s Unjust Conviction and Imprisonment
                  Claims

        Mr. Class alleges he is the victim of “unjust conviction and imprisonment” and has a
“claim aginst [sic] the United States” pursuant to 28 U.S.C. § 1495. Compl. at 1. Mr. Class
asserts he “was targeted, profiled under tracking device for 18 months under watched [sic] by
probation officer jailed for over 30 days based on a protected right guaranteed.” Compl. Attach.
at 7. Mr. Class later clarifies he “was falsely convicted of a protected right under the 2nd
amendment.” Pl.’s Surr. at 1–2.

        In response, the government states “[a]lthough this Court has jurisdiction over a claim for
damages by a person who was unjustly imprisoned,” this Court lacks jurisdiction to adjudicate
such claims that do not meet the requirements set out in 28 U.S.C. § 2513. Def.’s Mot. at 2. The
government argues “Mr. Class has not met the requisite statutory provisions [in 28 U.S.C. §
2513, and thus is not] entitled to such relief” because “this Court does not possess jurisdiction”
over his claim. Id.

       Pursuant to 28 U.S.C. § 1495, the United States Court of Federal Claims is recognized as
having “jurisdiction to render judgment upon any claim for damages by any person unjustly
convicted of an offense against the United States.” Castro v. United States, 364 F. App’x 619,
620 (Fed. Cir. 2010). “In order to state a claim for relief [for unjust conviction and
imprisonment], a claimant must allege that he satisfies the requirements set forth in 28 U.S.C. §
2513.” Id. 28 U.S.C. § 2513 establishes those requirements as follows:

       (1) His conviction has been reversed or set aside on the ground that he is not guilty
       of the offense of which he was convicted, or on new trial or rehearing he was found
       not guilty of such offense, as appears from the record or certificate of the court
       setting aside or reversing such conviction, or that he has been pardoned upon the
       stated ground of innocence and unjust conviction and
       (2) He did not commit any of the acts charged or his acts, deeds, or omissions in
       connection with such charge constituted no offense against the United States, or
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       any State, Territory or the District of Columbia, and he did not by misconduct or
       neglect cause or bring about his own prosecution.

28 U.S.C. § 2513(a)(1)–(2).

        To state a claim for relief for unjust conviction and imprisonment, “a claimant must
allege that he satisfies the requirements set forth in 28 U.S.C. § 2513.” Castro, 364 F. App’x at
620. Here, throughout his several filings, Mr. Class does not allege his convictions were
reversed, set aside, or on a new trial or rehearing he was found not guilty of such an offense. See
generally Compl.; Compl. Attach.; Pl.’s Resp.; Pl.’s Surr. Instead, Mr. Class makes broad
factual statements as to his conviction and imprisonment claim, but such statements do not
suffice to maintain a claim in this Court, even for pro se litigants. See Henke, 60 F.3d at 799
(explaining a Court “may excuse [a pro se litigant’s pleadings] ambiguities, but it does not
excuse its failures, if such there be”). For a litigant to maintain a claim in this Court, the litigant
must allege facts sufficient to maintain an alleged unjust conviction and imprisonment claim.
Therefore, since Mr. Class failed to allege “[h]is conviction has been reversed or set aside on the
ground that he is not guilty of the offense of which he was convicted, or on new trial or rehearing
he was found not guilty of such offense,” this Court lacks jurisdiction over Mr. Class’s unjust
conviction and imprisonment claim. See 28 U.S.C. § 2513.

               2. Jurisdiction Over Mr. Class’s Constitutional Claims

        Mr. Class claims “[t]his Petitioners [sic] . . . has been deny [sic] his right that was
protected under the Bill of Right[s] by the 2nd amendment . . . [and] 14th amendment” among
others and that “[government] employees did breach there [sic] contract to support and uphold
the Constitutions, Bill of Rights under the 2nd Amendment and equal Protection Statutes [of the
14th Amendment].” Compl. Attach. at 7; Compl. at 2.

       The government states “[t]his Court possesses jurisdiction to entertain constitutional
claims only when the constitutional provision at issue mandate[s] payment of money by the
government.” Def’s Mot. at 3 (citing LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.
1995)) (internal quotation marks omitted). The government argues neither the Second nor the
Fourteenth Amendment is money-mandating so “this Court does not possess jurisdiction over
Mr. Class’s constitutional claims.” See Def’s Mot. at 3.

        The Tucker Act “confers jurisdiction on the Court of Federal Claims, and a
corresponding waiver of the government’s sovereign immunity from suit, when the constitutional
provision . . . in question expressly creates a substantive right enforceable against the federal
government for money damages.” LeBlanc, 50 F.3d at 1028 (citing Testan, 424 U.S. at 398).
The Due Process Clauses of the Fifth and Fourteenth Amendments, as well as the Equal
Protection Clause of the Fourteenth Amendment, are not “a sufficient basis for jurisdiction [in
the Court of Federal Claims] because they do not mandate payment of money by the
government.” Id.; see also Smith v. United States, 709 F.3d 1114, 1116 (Fed. Cir. 2013) (“The
law is well settled that the Due Process clauses of both the Fifth and Fourteenth Amendments do
not mandate the payment of money and thus do not provide a cause of action under the Tucker
Act.”); Carruth v. United States, 627 F.2d 1068, 1081 (Ct. Cl. 1980) (“[The Court of Federal
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Claims] has no jurisdiction over claims based upon the Due Process and Equal Protection
guarantees of the Fifth Amendment, because these constitutional provisions do not obligate the
Federal Government to pay money damages.”). Also, it is well-established that for purposes of
jurisdiction under the Tucker Act, “the Second Amendment is not money-mandating.” Jordan v.
United States, 128 Fed. Cl. 46, 53 (2016) (citing Elkins v. United States, 229 Ct. Cl. 607, 608
(1981) (per curiam) (“[E]xcept for the taking clause of the fifth amendment, the other
amendments do not require the United States to pay money for their alleged violation”)).

        The Tucker Act requires a claim to be money-mandating for this Court to have subject-
matter jurisdiction, and Mr. Class’s constitutional claims are based solely on the Second and
Fourteenth Amendments, neither of which are money-mandating. Mr. Class’s claims are not
based on any money-mandating constitutional provision; therefore, this Court lacks subject-
matter jurisdiction over Mr. Class’s constitutional claims. See Smith, 709 F.3d at 1116 (Fed. Cir.
2013); Jordan, 128 Fed. Cl. at 53.

                  3. Jurisdiction Over Mr. Class’s Federal Statutory Claims

        Mr. Class alleges “[t]he Agents of United States Attorney Office employees did violate
the Constitution under high crimes and Misdemeanors and Treason . . . [with] reckless disregard
to” various Constitutional provisions and federal statutes which prohibit such action.1 Compl.
Attach. at 4. Additionally, Mr. Class claims “[t]his Petitioners [sic] . . . has been deny [sic] his
right that was protected under . . . the Military Laws and militia laws of not just the States but on
the very grounds of the District of Columbia by [government] Agents.” Compl. Attach. at 7. He
clarifies this claim by citing directly to 10 U.S.C. § 253 which in relevant part requires the
President of the United States to use the military or any other means to “suppress . . . any
insurrection, domestic violence, unlawful combination, or conspiracy if it . . . so hinders the
execution of the laws of that State, and of the United States within the State, that any part or
class of its people is deprived of a right, privilege, immunity, or protection named in the
Constitution and secured by law.” See Compl. Attach. at 6; 10 U.S.C. § 253.2

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  Mr. Class claims misconduct and reckless disregard on behalf of the United States with regard to the following
statutory and constitutional provisions: (1) “Code of Federal Ethics [and] Professional ethics” under 5 U.S.C. §§
3331–33, 5507, and 28 U.S.C. § 544; (2) “abuse of power and misuse of public office” under 5 U.S.C. § 7311 and
18 U.S.C. § 1918; (3) the United States Constitution “under high crimes and Misdemeanors and Treason;” (4) the
“Bill of Right [sic] 2nd amendment;” (5) “Article 4 sections1 [sic] & 2;” (6) “14th amendments [sic] section 1;” (7)
“42 USC 1981;” (8) “[m]ilitia laws for the District of Columbia. § 49-401;” (9) “[s]tate right to carry with or without
a conceal carry permit under the 2nd amendment;” and (10) “Civil Rights under Color of Law.” See Compl. Attach.
at 4–5. Mr. Class further alleges the United States Government has committed the following: (1) “abuse and misuse
of taxpayer money to . . . [violate] supreme Court decision on a 2 nd amendment protect rights violation;” (2)
“plac[ing] false misleading and misrepresentation of information before a ‘Grand Jury’ with intent to perjury a
sworn Oath to faithfully support the Constitution with intend to violate the 2nd amendment right;” (3) “violat[ion of]
the Constitution of a Partisan conviction;” (4) “committed malfeasant; . . . [m]isfeasance, . . . [and] [n]onfeasance;”
and (5) “waged War on protected right,” specifically on behalf of the United States Attorney Office. See Compl.
Attach. at 5–6 (emphasis omitted).
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  Mr. Class cites to 10 U.S.C. § 333 in his complaint; however, this is an outdated citation. See Compl. Attach. at 6.
The updated citation for the same statute is 10 U.S.C. § 253.

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       The government asserts “none of [the Federal statutes Mr. Class cites in his complaint]
are money-mandating.” Def’s Mot. at 3. The government argues similarly to their argument
over Mr. Class’s constitutional claims, stating “[Class] fails to identify any money-mandating
provision of law that entitles him to money damages[;] . . . [t]hus, this Court lacks jurisdiction to
consider the complaint.” Id.

        When a claim is made pursuant to the Tucker Act, “a plaintiff must identify a separate
source of substantive law that creates the right to money damages,” and “the trial court at the
outset shall determine . . . whether the Constitutional provision, statute, or regulation is one that
is money-mandating.” Fisher v. United States, 402 F.3d 1167, 1172–73 (Fed. Cir. 2005). Such
sources of substantive law are money mandating if they “can fairly be interpreted as mandating
compensation for damages sustained as a result of a breach of the duties [it] impose[s].” Id. at
1173 (quoting United States v. Mitchell, 463 U.S. 206, 217 (1983)). If the substantive law in a
case is not money-mandating, “the court shall so declare, and shall dismiss the cause for lack of
jurisdiction, a Rule 12(b)(1) dismissal.” Id.

        Throughout his filings, Mr. Class fails to assert any of the federal statutes upon which he
bases his claims are money-mandating. See generally Compl.; Compl. Attach.; Pl.’s Resp.; Pl.’s
Surr. Further, none of the statutes he invokes can be interpreted as mandating financial
compensation as a result of a breach. This Court’s jurisdiction only extends over money-
mandating statutes, and Mr. Class fails to show the statutes he invokes are money-mandating;
therefore, this Court lacks subject-matter jurisdiction over Mr. Class’s various statutory claims
against the United States. See Fisher, 402 F.3d at 1173.

                4. Jurisdiction Over Mr. Class’s Contractual Claims

        Mr. Class alleges in his response “[t]he real issue [in this case] . . . is the unconstitutional
acts of those under a contract for wages to [the people of the United States].” Pl.’s Resp. at 2.
He states “[t]hose who hold public office are under contract to ‘We the people’ under a sworn
oath to up hold [sic] and protect the rights of the People” and states this contract is violated when
a United States employee “knowing [sic] violate[s] the constitution to get a conviction.” Pl.’s
Surr. at 2; Pl.’s Resp. at 3. He attempts to invoke the jurisdiction of this Court by alleging “the
Court of [Federal] Claims is a Court to bring . . . [c]laims against the United States/employees
for” such a contractual violation. Pl.’s Resp. at 2–3. Additionally, Mr. Class argues government
counsel “refuses to uphold and defend the Constitution of the United States[,] . . . has given the
appearance in engaged in insurrection or rebellion against the [United States,] . . . [and] willfully
with malice and with for thought dis [sic] violate there [sic] oath of Offices” and therefore must
be disqualified from office. Id. at 8, 9.

        The government replies “[n]either Mr. Class’s complaint nor his response . . . set forth
any non-frivolous factual allegations that plausibly suggest that he has a contract with the United
States.” Def.’s Reply at 2. Further, the government asserts none of his filings satisfactorily
allege the required elements of a contract, including “mutual intent to contract, such as offer and
acceptance, and consideration.” Id. at 2. For these reasons, the government argues that “Mr.

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Class has failed to plausibly allege that a contract exists with the Government” and “[his]
allegation is insufficient to invoke this Court’s jurisdiction.” Id. at 1–2.

         The Tucker Act vests this Court “jurisdiction to render judgment upon any claim against
the United States founded . . . upon any express or implied contract with the United States.” 28
U.S.C. § 1491(a)(1). Such jurisdiction “requires no more than a non-frivolous allegation of a
contract with the government.” Engage Learning, Inc. v. Salazar, 660 F.3d 1346, 1353 (Fed.
Cir. 2011) (emphasis omitted). “[D]ismissal may be proper for lack of subject matter jurisdiction
if the claim is wholly insubstantial and frivolous.” Ibrahim v. United States, 799 F. App’x 865,
867 (Fed. Cir. 2020) (internal citation omitted). To state a claim for a government breach of
contract, a plaintiff must plausibly allege the existence of a contract with the United States,
which requires: “(1) mutuality of intent to contract; (2) consideration; (3) an unambiguous offer
and acceptance; and (4) actual authority on the part of the government’s representative to bind
the government.” Biltmore Forest Broad. FM, Inc. v. United States, 555 F.3d 1375, 1380 (Fed.
Cir. 2009) (internal citation omitted). These requirements “are identical for both express and
implied contracts.” Trauma Serv. Grp. v. United States, 104 F.3d 1321, 1325 (Fed. Cir. 1997)
(internal citation omitted).

         Mr. Class alleges the existence of a contract between the United States government and
the American people and makes several assertions that this contract has been breached to his
detriment as a member of the second party to the contract. See generally Pl.’s Resp. With these
allegations, however, Mr. Class does not plausibly allege the existence of mutuality of intent to
contract, consideration, an unambiguous offer and acceptance, and actual authority on the part of
the government’s representative to bind the government—all requisite elements of a legitimate
contract with the government. See Biltmore Forest Broad, 555 F.3d at 1380. Failing to allege
even one of these requirements would render such a claim frivolous, but Mr. Class fails to allege
all of them, instead just asserting its existence. Indeed, the sparse facts surrounding Mr. Class’s
alleged contract between the government’s attorney and himself as a citizen of the United States
fall short of the requirements for a non-frivolous contract under the Tucker Act, and he fails to
allege the existence of any other specific written or oral contract with the Government.
Therefore, Mr. Class’s contractual allegations are both wholly insubstantial and frivolous, and
this Court accordingly lacks subject-matter jurisdiction over Mr. Class’s contractual claims. See
id.; Engage Learning, Inc., 660 F.3d at 1353.

               5. Jurisdiction Over Mr. Class’s Claims Against Government Officials

        Lastly, Mr. Class calls for government counsel to be disqualified from the Federal Bar
Association for violations of 36 U.S.C. § 70503(c) for “refus[ing] to uphold and defend the
Constitution of the United States,” specifically regarding the Tenth Amendment and the
Fourteenth Amendment. Pl.’s Resp. at 8 (emphasis omitted). Mr. Class also alleges government
counsel “has given the appearance in engaged in insurrection or rebellion against the [United
States]” in direct violation of the Fourteenth Amendment. Pl.’s Resp. at 9. In each case, Mr.
Class alleges violations by the United States upon his constitutional and statutory rights and
attempts to use federal statutes as a basis for prosecution.


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        When a claim is made pursuant to the Tucker Act, “a plaintiff must identify a separate
source of substantive law that creates the right to money damages,” and “the trial court at the
outset shall determine . . . whether the Constitutional provision, statute, or regulation is one that
is money-mandating.” Fisher, 402 F.3d at 1173. Similarly, in relation to Constitutional rights
violation claims, the Tucker Act “confers jurisdiction on the Court of Federal Claims, and a
corresponding waiver of the government’s sovereign immunity from suit, when the constitutional
provision . . . in question expressly creates a substantive right enforceable against the federal
government for money damages.” LeBlanc, 50 F.3d at 1028 (citing Testan, 424 U.S. at 398). A
source of substantive law is money mandating if it “can fairly be interpreted as mandating
compensation for damages sustained as a result of a breach of the duties [it] impose[s].” Fisher,
402 F.3d at 1173 (internal citation omitted). If the substantive law in a case is not money-
mandating, “the court shall so declare, and shall dismiss the cause for lack of jurisdiction, a Rule
12(b)(1) dismissal.” Id. at 1173. Further, the Tucker Act states “[t]he United States Court of
Federal Claims shall have jurisdiction to render judgment upon any claim against the United
States.” 28 U.S.C. § 1491(a)(1). It is widely established that this statute grants “the Court of
Federal Claims jurisdiction over suits against the United States, not against individual federal
officials.” Brown v. United States, 105 F.3d 621, 624 (Fed. Cir. 1997).

        Mr. Class fails to establish or assert in his filings that any of the statutes upon which he
bases his claims against government counsel under 36 U.S.C. § 70503(c) are money-mandating.
See generally Pl.’s Resp.; Pl.’s Surr. Further, none of the statutes referenced in his filings
require money damages for violations. This Court’s jurisdiction only extends over money-
mandating statutes, and Mr. Class fails to show the statutes he invokes are money-mandating;
therefore, this Court lacks subject-matter jurisdiction over Mr. Class’s various statutory claims.
Even if this statute were money-mandating, this Court’s jurisdiction is limited to hearing cases
only against the United States, and these claims are brought against a federal official and not the
United States as required by the Tucker Act. Accordingly, this Court lacks subject-matter
jurisdiction over Mr. Class’s statutory claims against government counsel. Brown, 105 F.3d at
624.

IV.    Conclusion

        The Court has considered all of Mr. Class’s arguments. To the extent not discussed
specifically herein, Mr. Class’s other claims are unpersuasive, meritless, or unnecessary for
resolving the issues currently before the Court. The Court of Federal Claims lacks subject-
matter jurisdiction to consider Mr. Class’s claims. The Court hereby: (1) GRANTS the
government’s motion to dismiss; and (2) DISMISSES the complaint.

       IT IS SO ORDERED.


                                                      s/ Ryan T. Holte
                                                      RYAN T. HOLTE
                                                      Judge


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